69 F.3d 533
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Cornelius TUCKER, Jr., Plaintiff-Appellant,v.Sergeant BEALE;  Assistant Warden Lee;  Nurse Clement,Defendants-Appellees.
    No. 95-7275.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 12, 1995.Decided Oct. 30, 1995.
    
      Cornelius Tucker, Jr., appellant pro se.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying leave to file a 42 U.S.C. Sec. 1983 (1988) complaint for failing to comply with a pre-filing injunction.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Tucker v. Beale, No. MISC-95-69-5-F (E.D.N.C. July 19, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    